     Case 2:20-cv-04980-FMO-AS Document 65 Filed 09/02/21 Page 1 of 1 Page ID #:749




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8                                     UNITED STATES DISTRICT COURT

9                                CENTRAL DISTRICT OF CALIFORNIA

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11    JESSICA LUNDQUIST,                        )   Case No. CV 20-4980 FMO (ASx)
                                                )
12                       Plaintiff,             )
                                                )
13                v.                            )   JUDGMENT
                                                )
14    UNITED STATES OF AMERICA, et al.,         )
                                                )
15                       Defendants.            )
                                                )
16
            IT IS ADJUDGED THAT the above-captioned action is dismissed without prejudice.
17
      Dated this 2nd day of September, 2021.
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19
                                                                       /s/
20                                                             Fernando M. Olguin
                                                            United States District Judge
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